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    8

    9                       UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11


   12   RANDI GARRIS, JOHN SWITZER  ) Case No.2:17-CV-01452 MWF (Ex)
        nd JASON TEAGUE,            )
   13
                                    )
   14            Plaintiffs,        ) DEFENDANT CITY'S
            vs.                     ) SUPPLEMENTAL BRIEF
   15
                                    )
   16   ITY OF LOS ANGELES and LOS  ) (Tables Filed Under Separate Cover)
   17
        NGELES HOUSING AND          )
        OMMUNITY INVESTMENT         )
   18
        EPARTMENT, f/k/a LOS ANGELES)
   19   OUSING DEPARTMENT,          )
                                    )
   20
                 Defendants.        )
   21                                            )
        11-------------

   22

   23   1.    Standing.
   24
              A.     No Colorable Injury-in-Fact Or Proximate Cause.
   25
              The burden of pleading a violation of federally protected rights under color
   26
        oflaw, including the inapplicability of warrant exceptions, rests on the Plaintiff.
   27
        Larez v. Holcomb (9th Cir. 1994) 16 F.3d 1513,1517,1994 U.S. App. LEXIS
   28

                                                     1
                                CITY'S SUPPLEMENTAL BRIEF
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    1   2995, * 11. Article III standing requires Plaintiffs to allege facts establishing they
    2   have sustained an injury-in-fact or invasion of a legally protected interest which is
    3   concrete and particularized; a causal connection between the injury and
    4
        defendant's conduct or omissions; and a likelihood that the injury will be
    5
        redressed by a favorable decision. Lujan v. Defenders of Wildlife (1992) 504 U.S.
    6
        555, 560-561, 112 S.Ct. 2130,2136; Jones v. Comm. Redevelopment Agency (9 th
    7
        Cir. 1994) 733 F.2d. 646, 650-651.
    8
              A liberal interpretation of civil rights claims may not supply the essential
    9

   10
        pleading elements of such claim. Bruns v. Nat 'I Credit Union Admin. (9 th Cir.
   11   1997) 122 F. 3d 1251, 1257. To survive dismissal, a complaint must allege
   12   sufficient factual matter, accepted as true, to state a claim to relief that is plausible
   13   on its face. Ashcroft v. Iqbal (2009) 556 U.S. 662,678, 129 S. Ct. 1937, 173 L.
   14   Ed. 2d 868.
   15         Here, Plaintiffs do not seem to dispute that California Constitution, art. XI,
   16   § 7 empowers the City to make/enforce all police, sanitary and other ordinances
   17   not in conflict with general laws. The City Housing Department has the authority
   18   to regulate residential rental housing for the public good. Cal. Health & Safety
   19   Code § 17910, § 17960, § 17964; Court Doc. 8, Complaint, Ex. A, pgs. 3 - 8,
   20   LAMC § 161.301, § 161.401- § 161.405. Government Code § 36901 states the
   21
        city may impose fines, penalties, and forfeitures for violations of ordinances,
   22
        including imprisonment.
   23
              SCEP is the vehicle by which the City implements these police powers at
   24
        residential rental properties by employing three kinds of inspections: (1) Periodic
   25
        Inspections; (2) Complaint Inspections; and (3) Exigent Circumstances or
   26
        Reasonable Cause Inspections. In a cursory manner, Plaintiffs impliedly allege
   27

   28
        only the conclusion that all of these inspections violate their Fourth Amendment
                                                    2
                                 CITY'S SUPPLEMENTAL BRIEF
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    1
        rights because they either pay SCEP Fees or face imposition of SCEP penalties,
    2
        which supposedly forces them to consent to inspections. But, there are no specific
    3
        facts alleged showing the elements of any Section 1983 claim. Because the facial
    4
        challenge is time barred, Plaintiffs were required to allege their as-applied Section
    5
        1983 challenges based upon individual injuries arising from an actual searches or
    6
        seizures. Having fallen short of this pleading burden to allege specific facts, the
    7
        Motion should be granted.
    8
               B.     SCEP Fees And Penalties Lack Proximate Cause To Any Injury.
    9

   10
               It is well established that the District Court's duty to establish subject

   11
        matter jmisdiction is not contingent on the parties' arguments. United Investors

   12   Life Ins. Co. v. Waddell & Reed Inc. (9 th Cir. 2004) 360 F. 3d 960, 966. Mere
   13   reference to federal laws to support a claim does not convert such claim into a
   14   federal cause of action. Nevada v. Bank ofAmerica (9 th Cir. 2012) 672 F.3d 661,
   15   675. The instant Plaintiffs Fourth Amendment standing is based on conclusions
   16   about Section 1983 searches and seizures, and their alleged payment of SCEP
   17   Fees which they claim leads to coerced inspections. The Court has noted that
   18
        Plaintiffs have not alleged any Section 1983 facts nor how the payment of SCEP
   19
        fines or penalties has coerced any inspection. Court Doc. 20, pg. 1, ~ 2.
   20
               Aside from these pleading deficiencies, there is a lack of proximate cause as
   21
        between the Fourth Amendment, payment of SCEP fees and/or imposition of civil
   22
        and criminal penalties. Specifically, SCEP Fees are charged" ... to finance the
   23
        costs of inspection and enforcement by the Department" as to Periodic
   24
        Inspections. LAMC § 161.352 1• Court Doc. 8, Complaint, Ex. A, pg. 6, LAMC §
   25

   26

   27   1 The SCEP Fee is charged only for conducting Periodic Inspections. Docket No.8, Complaint,
        Ex. A, pg. 5, LAMC § 161.352. No fee is imposed for the initial Complaint Inspection.
   28   Inspection fees beyond the annual Periodic SCEP Fee may be charged if a Notice and Order To
                                                      3
                                 CITY'S SUPPLEMENTAL BRIEF
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    1
        161.352. The Court seemed to concur that Periodic Inspections fall within the
    2
        plainly legitimate sweep of regulatory residential housing code inspections and
    3
        passes Fourth Amendment scrutiny sufficient to render these inspections moot in
    4
        this case. Therefore, the payment of SCEP fees, absent contrary allegations, raises
    5
        only as-applied instances of Periodic Inspections where consent was not given
    6
        since: (1) SCEP Fees pay only for the Periodic Inspections; (2) government duties
    7
        are presumed to be regularly perfonned (Cal. Evidence Code § 664) and SCEP
    8

        mandates of adherence to federal law; and (3) there are no allegations of any
    9

   10
        government action taken in excess of these SCEP restrictions. See Court Doc. 8,

   11
        Complaint, Ex. A, pg. 8, LAMC § 161.408.
   12          Plaintiffs contentions about imposition of civil and criminal penalties fares
   13   no better because: (1) no penalties are alleged; (2) administrative review
   14   procedures are available; (3) imposition of criminal penalties are vested with an
   15   outside agency; and (4) civil penalties may be imposed if SCEP Fees are not
   16   timely paid (Court Doc. 8, Complaint, Ex. A, pg. 21-22, LAMC 161.903.1,
   17   161.903.2) or due to unabated cited violations according to proof in a subsequent
   18
        civil action. Court Doc. No.8, Complaint, Ex. A, pg. 22-23, LAMC 161.905.
   19
        Additionally, preceding any non-payment scenario, and therefore involuntary
   20
        imposition of civil penalties, SCEP provides landlords with an appeal of fees
   21
        before a Senior Inspector (Court Doc. No.8, Complaint, Ex. A, pg. 23-24, LAMC
   22
        § 161.1001.1) or the ability to file for a claim of exemption from SCEP fees
   23
        (Court Doc. 8, Complaint, Ex. A, pg. 20, LAMC § 161.901.3.A-D). These
   24
        additional remedies show that the instant Plaintiffs had the opportunity for pre-
   25

   26

   27   Comply has been issued and "the violation continues to exist on a date after the order expires"
        or when a third inspection is required. Docket No.8, Complaint, Ex. A, pg. 19, LAMC
   28
        §§161.901.1-161.901.2. All fees are appealable. Id.
                                                       4
                                   CITY'S SUPPLEMENTAL BRIEF
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    1   compliance reVIew that could prevent imposition of penalties based on their
    2   administrative actions, thereby breaking the chain of alleged causation.
    3
              As for criminal penalties, SCEP states that prosecution referrals occur after
    4
        an inspection is completed, an order to comply is issued, and the landlord fails to
    5
        comply, or when a landlord fails to pay for invoiced fees and never successfully
    6
        administratively appeals same. These temporal events before criminal prosecution
    7
        referrals shows there is no direct proximate cause circumstance as between a
    8

        refusal to allow a property inspection and a criminal prosecution referral, thereby
    9

   10
        making the instant civil rights based on criminal penalties not ripe and so
   11   attenuated as to lack facial plausibility. Lastly, misdemeanor filings involve
   12   contingent, prospective discretionary events of an outside agency (City Attorney's
   13   Office) which is not chargeable as state action to the City.
   14        C.      Qualified Immunity Dictates Dismissal For Lack Of Injury.
   15        In order to allege a Section 1983 claim, Plaintiffs must allege facts sufficient
   16   to raise an inference about individual deprivations by a person acting under color
   17   of state law, of the rights, privileges and immunities provided by the Constitution.
   18   Butler v. Elle (9th Cir. 2002) 281 F. 3d. 1014, 1021. Qualified immunity applies to
   19   Section 1983 actions as an entitlement not to stand trial or face the other burdens
   20
        of litigation, including defense of this lawsuit. The privilege operates as an
   21
        immunity from suit rather than a mere defense to liability. Harlow v. Fitzgerald
   22
        (1982) 457 U.S. 800, 818, 73 L. Ed 2d 396, 102 S. Ct. 2727, L. Ed. 2d 396. City
   23
        Housing Inspectors make on-the-spot decisions about evolving circumstances at
   24
        rental propeIiies about whether there exists an imminent threat to the health and
   25
        safety of tenants such that a warrant exception to entry onto private property
   26

   27
        might apply. Qualified immunity could obviously apply to such allegations.
   28   Plaintiffs exclusive reliance upon only formalistic recitations of the some of the
                                                  5
                                CITY'S SUPPLEMENTAL BRIEF
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    1   elements of 42 U.S.C § 1983 is not only legally insufficient (Bell Atlantic Corp. v.
    2   Twombly (2007) 550 U.S. 544,555, 127 S. Ct. 1955, 167 L. Ed 2d. 929) but also
    3
        has robbed the City of its right to interpose an early qualified immunity defense.
    4
              D.     The Lack Of Any As-Applied Facts Equals No State Action.
    5
              To allege a Section 1983 claim against a municipality, a plaintiff must
    6
        show: (1) that an employee was acting pursuant to an expressly adopted official
    7
        policy; (2) that an employee was acting pursuant to a longstanding practice or
    8
        custom; or (3) that an employee was acting as a 'final policymaker. '" Lytle v. Carl
    9
   10   (9 th Cir. 2004) 382 F.3d 978, 982, 2004 U.S. App. LEXIS 18476, *5. The policy
   11   of a municipality is its official rules and regulations, and must be the proximate
   12   cause of the violation of a plaintiff s constitutional right to allege a § 1983 claim.
   13   City afOklahoma City v. Tuttle (1985) 471 U.S. 808, 105 S. Ct. 2427, 85 L. Ed.
   14   2d 791.
   15         Here, the Complaint never identifies any specific SCEP Ordinance as being
   16   the proximate cause of any specific Plaintiff's Fourth Amendment rights. Even so,
   17   under Monell v. Dep't ofSoc. Servs. (1978) 436 U.S. 658, 691, 694, 98 S. Ct.
   18   2018,56 L. Ed. 2d 611, Plaintiffs " ... cannot prove the existence ofa municipal
   19   policy or custom based solely on the occurrence of a single incident or
   20   unconstitutional action by a non-policymaking employee." Davis v. City of
   21
        Ellensburg, 869 F.2d 1230, 1233, 1989 U.S. App. LEXIS 2301, *4 (9 th Cir. 1989).
   22
              Plaintiffs allege harm of coerced inspections due to paying SCEP Fees
   23
        and/or penalties - all isolated and highly fact specific occurrences which do not
   24
        allege state action or colorable Monell facts. Nor have Plaintiffs alleged any §
   25
        1983 injury sustained as the result of conduct of anyone person who had final
   26
        policymaking authority as required for state action. Under the facts alleged, it is
   27

   28   presumed that an agency regularly performs its duty [Young v. Gannon (2002) 97
                                                   6
                                CITY'S SUPPLEMENTAL BRIEF
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    1   Cal. App. 4 th 209,225, 118 Cal. Rptr. 2d 187,200], thereby providing a
    2   heightened pleading burden. Because § 1983 is not self-executing and creates no
    3   substantive rights (Cannon v. Taylor (l1th Cir. 1986) 782 F.2d 947, 949, 1986
    4
        U.S. App. LEXIS 22350, *3), not every deprivation amounts to a constitutional
    5
        violation nor gives Plaintiffs a claim under § 1983. Dollar v. Haralson County
    6
        (lIth Cir.) 704 F.2d 1540, 1543, cert. denied, (l983) 464 U.S. 963, 104 S. Ct.
    7
        399, 78 L. Ed. 2d 341. On these grounds, the Motion should be granted.
    8
               E.      Lack of Standing Due To Time Barred Claims.
    9


   10
               A facial challenge to most statutes and ordinances can be brought within
   11   three years of enactment. Cal. Code Civil Procedure ("CCP") § 338; Travis v.
   12   County ofSanta Cruz (2004) 33 Cal. 4 th 757,771,94 P.3d 538,545,16 Cal. Rptr.
   13   3d 404,413. Cal. Gov. Code § 65009(c)(l)(b)2 has a 90-day limitations period to
   14   challenge zoning ordinances. SCEP is a land use ordinance concerning the use and
   15   occupancy of rental property, which speaks of zoning laws. SCEP was enacted in
   16   1998. Complaint Exhibit A, pg. 2, Article I, "(Chapter and Article Added By Ord.
   17   No. 172,109, Eff. 7/15/98)". Regardless of the state statute, any right of Plaintiffs
   18   to bring a facial challenge to SCEP passed since this lawsuit was filed in 2017 and
   19   the latest enactment date of SCEP is 2011. Moving Papers 5:3-26.
   20
               Any as-applied facial challenge to SCEP that might be plead by Plaintiffs
   21
        necessarily means there must be an infringement of individual rights. "[I]n order
   22
        to claim protection of the Fourth Amendment, a [person] must demonstrate the he
   23
        personally has an expectation of privacy in the place searched...." Minnesota v.
   24
        Carter, 525 U.S. 83,88,119 S. Ct. 469; 142 L. Ed. 2d 373 (l998). To claim the
   25
        protection of the Fourth Amendment, an expectation of privacy in the place
   26

   27
        2 This Court earlier opined that the government code limitations period does not apply; a point
   28   respectfully not conceded.
                                                        7
                                   CITY'S SUPPLEMENTAL BRIEF
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    1
        searched must exist and the expectation must be reasonable (i.e., one that has a
    2
        source outside of the Fourth Amendment), either by reference to concepts of real
    3
        or personal property law, or understandings that are recognized and permitted by
    4
        society. Id. Here, the statute of limitations on any possible as-applied facial
    5
        challenges to the application of SCEP has a two-year statute of limitations period
    6
        under Cal. Code Civil Procedure § 335.1 (applies to claims of injury to person).
    7
        During oral argument on the instant FRCP 12(b)(6), counsel for Plaintiffs adhered
    8

        to their opinion that there are no as-applied facts relevant to this case. Because no
    9

   10
        as-applied facts within the two-year personal injury limitations period have been
   11   plead, nor exists, the only conclusion that may be drawn is that none exist within
   12   the two-year limitations period, thus warranting granting of the Motion.
   13         F.       Lack of Standing Due Failure To Exhaust Remedies.
   14         An administrative remedy is exhausted only upon termination of all
   15   available, non-duplicative administrative review procedures. Coachella Valley
   16   Mosquito & Vector Control Dist. v. Cal. Pub. Emp 't Relations Bd. (2005) 35 Cal.
   17   4 th 1072,1080,112 P.3d 623; 29 Cal. Rptr. 3d 234. The exhaustion of
   18   administrative remedies is jurisdictional (Johnson v. City ofLorna Linda (2000) 24
   19   Cal. 4 th 61, 70, 5 P.3d 874; 99 Cal. Rptr. 2d 316) and promotes prudential
   20
        considerations of allowing the City to apply its subject matter expertise, apply
   21
        statutorily delegated remedies, and to mitigate damages. Raja v. Klinger (1990) 52
   22
        Cal. 3d 65, 86, 801 P.2d 373; 276 Cal. Rptr. 130.
   23
               SCEP fees may be administratively challenged3 under LAMC § 161.1001.1
   24
        (Complaint, Exhibit A, pg.19) and/or a request for exemption from fees may be
   25

   26

   27   3The City may impose appealable penalties when" ... any fee or cost imposed ... are not paid
        within 30 days of service of notice of imposition of the fee or cost..." Docket No.8, Complaint,
   28   Ex. A, pg. 20-22, LAMC 161.903.1, § 161.905, § 161.903.2, § 161.1001.1. If there is a
                                                        8
                                   CITY'S SUPPLEMENTAL BRIEF
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    1
        sought under LAMC § 161.901.3.A-D (Complaint, Exhibit A, pg.19). SCEP
    2
        penalties may also be administratively challenged
    3
                Plaintiffs allege their individual civil rights claims based upon personal
    4
        injuries arising from the imposition of SCEP penalties and fees associated with
    5
        purported unlawful searches and seizures. Although each of these claims are
    6
        subject to individual pleading proof since constitutional claims may not be
    7
        vicariously asserted, Plaintiffs have not alleged any as-applied Fourth Amendment
    8

        facts. This pleading deficiency leads to an inference that Plaintiffs have no timely
    9

   10
        as-applied claims. Vague conclusions about suffering SCEP penalties do not save

   11
        the Complaint from dismissal, but rather make things worse, because: (1) no

   12   actual penalties are alleged; and (2) the existence of penalty exhaustion
   13   requirements suggests the existence of a controversy not ripe for review since
   14   there are no allegations about exhaustion. There is no ordinance in SCEP
   15   allowing for imposition of penalties against tenants, nor imposition of penalties if
   16   inspection consent is withheld. Thus, assuming, without conceding, that Plaintiffs
   17   had alleged any as-applied civil fees or penalties, such circumstances would still
   18
        fail to plead a ripe Section 1983 claim due to the failure to exhaust administrative
   19
        remedies.
   20
               G.      SCEP Fee Payments Do Not Implicate Coerced Inspections.
   21
               In determining whether consent is voluntarily given in a particular search or
   22
        given under duress, the totality of circumstances is reviewed. United States v.
   23
        Garcia (9th Cir. 1993) 997 F.2d 1273,1281-82,1993 u.S. App. LEXIS 13490,
   24
        *19. Factors guiding this consideration include: (1) whether the individual was in
   25

   26
        violation of the Housing Code, penalties are recoverable only" ... in a civil action brought by the
   27
        City Attorney in any court ... ". Docket No.8, Complaint, Ex. A, pg. 21, LAMC § 161.905.
   28

                                                        9
                                    CITY'S SUPPLEMENTAL BRIEF
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     1   custody; (2) whether the officer had his/her gun drawn; (3) whether Miranda
     2   warnings were given; (3) whether the individual was notified that he had a right
     3   no to consent; and (5) whether the individual was told a search warrant could be
     4
         obtained. Liberal v. Estrada (9 th Cir. 2011) 632 F. 3d 1064, 1082,2011 U.S. App.
     5
         LEXIS 957, *55. In a Section 1983 case, the plaintiff bears the burden of
     6
         establishing each element of his claim, including lack of consent. Larez v.
     7
         Holcomb (9 th Cir. 1994) 16 F.3d 1513,1517,1994 U.S. App. LEXIS 2995, *11,
     8
         94 Cal. Daily Op. Service 1265,94 Daily Journal DAR 2218.
     9

    10
               Plaintiffs allege they were subjected to warrantless and non-consensual
    11   searches of their property and rental units by the City's use of forced consent
    12   arising from imposing SCEP fees and/or penalties. Such theory lacks facial
    13   plausibility to allege a cognizable Fourth Amendment injury because no colorable
    14   facts are alleged showing this nexus and the payment of SCEP fees pertains only
    15   to Periodic Inspections. Additionally, the paYment of SCEP fees does not raise an
    16   inference of coerced inspections as (1) SCEP fees are appealable (LAMC §
    17   161.1001.1) which shows that due process and opportunity for pre-compliance
    18   review is provided, and (2) the non-payment of the SCEP fee can only result in
    19   collection efforts via imposition of tax liens, nuisance abatement procedures and
    20   imposition of late charges and penalty fees via legal process Court Doc. 8,
    21
         Complaint, Ex. A, pg. 6,21-22, LAMC § 161.352, § 161.903.1, § 161.903.2.
    22
         These circumstances, coupled with the absence of any allegations about custody
    23
         or use of force, and because ofSCEP's mandates observing federal law,
    24
         underscore the folly that payment of SCEP fees causes warrantless/non-
    25
         consensual searches or seizures.
    26

    27
         III
    28   III
                                                  10
                                 CITY'S SUPPLEMENTAL BRIEF
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     1
                Severability Clause.
     2
               In the Order dated May 10, 2017 (Document No. 20), this Court noted the
     3
         severability clause in Chapter XVI, Division 6 at LAMC § 161.103 and requested
     4
         briefing on the effect of this clause on Plaintiffs' claims.
     5
               SCEP instructs the City Housing + Community Investment Dept. and its
     6
         employees that SCEP shall be interpreted" ... in conformity with the intent and
     7
         purpose of this article" (Court Doc. 8, Complaint, Ex. A, pg. 8, LAMC § 161.406)
     8
         and mandates conformance of conduct with state and federal law. Court Doc. 8,
     9

    10   Complaint, Ex. A, pg. 9, LAMC §161.408. There are no as-applied facts raising
    11   any contrary interpretation. The severability clause at issue is prominently placed
    12   in Division 1 of Article 1 of SCEP stating if any part of SCEP is found to be
    13   unconstitutional or otherwise invalid, such invalidity shall not affect the remaining
    14   provisions of SCEP that can be implemented without the offending language.
    15   Docket No.8, Complaint, Ex. A, pg. 2, LAMC § 161.103.
    16         Contrary to Plaintiffs' conjecture, the words "without prior notice" in
    17   Complaint Inspections at LAMC § 161.603 does not modify the applicability of
    18   LAMC §161.408 Right To Inspect to Complaint Inspections nor do the words
    19   "without prior notice" mean that inspections are to be conducted without consent.
    20
         The accuracy of this conclusion is suppOlied by the many SCEP ordinances about
    21
         giving advance notice (as distinct from conducting an inspection) in LAMC §
    22
         161.354 Notice And Orders; LAMC § 161.409 Service of Notices And Orders To
    23
         Owner or Landlord; LAMC § 161.602.2 (untitled); and LAMC § 161.602.2
    24
         (untitled). Thus, Complaint Inspections require consent except in exigent
    25
         circumstances to protect the health and safety of tenants, and the SCEP
    26

         severability clause gives the necessary assurance that even if Complaint
    27

    28   Inspections were found to be facially invalid due to the language of "without prior
                                                    11
                                  CITY'S SUPPLEMENTAL BRIEF
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     1   notice", that all remaining provisions of SCEP would have been enacted without
     2   the portions which are contrary to the constitution. Whereas this Court identified
     3   that Periodic Inspections appear to be facially lawful; the text in LAMC § 161.603
     4
         Complaint Inspections-specifically, that section's "without prior notice"
     5
         language, states: "The General Manager may inspect without prior notice to the
     6
         landlord or tenants those portions of buildings or dwellings units within the scope
     7
         of this Ordinance about which a complaint has been lodged, and, in addition, may
     8
         inspect the common areas of the building or other dwelling units subject to this
     9

    10
         article."

    11
                As an elementary rule, "every reasonable construction must be resorted to,

    12   in order to save a statue from unconstitutionality." Johnson v. United States, 135
    13   U.S. 133, 150, 135 S. Ct. 2551,2578, 192 L.Ed.2d 569,601 (2015). Whenever a
    14   legislative act "contains unobjectionable provisions separable from those found to
    15   be unconstitutional, it is the duty of [the] court to so declare, and to maintain the
    16   act in so far as it is valid." El Paso & N R. Co. v. Gutierrez, 215 U.S. 87, 96, 30
    17   S. Ct. 21, 24, 54 L.Ed. 106, 111 (1909); see also Alaska Airlines, Inc. v. Brock
    18   (1987) 480 U.S. 678, 684, 107 S. Ct. 1476, 1479, 94 L.Ed.2d 661, 669. Where a
    19
         severability clause exists, the valid portions of a statute or ordinance which is
    20
         partially unconstitutional will be upheld if the remaining portion is severable and
    21
         remains fully operative as a law. See Exec. Bens. Ins. Agency v. Arkison (2014)
    22
         573 U.S. - , 189 L.Ed.2d 83,94; In re Portnoy (1942) 21 Cal. 2d 237, 242, 131
    23
         P.2d 1,3.
    24
                Under the standard for determining the severability of an unconstitutional
    25
         provision, "[u]nless it is evident that the Legislature would not have enacted those
    26
         provisions which are within its power, independently of that which is not, the
    27

    28
         invalid part may be dropped if what is left is fully operative as a law." Buckley v.
                                                   12
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     1   Va leo, 424 U.S. 1, 108,96 S. Ct. 612,677,46 L.Ed.2d 659, 738 (1976). (Court
     2   upheld constitutionality of some provisions of a statute even though other
     3   provisions of the same statute were unconstitutional.)
     4
                In determining the effect of a statute's severability clause, federal courts
     5
         look to state law. See Leavitt v. Jane L. (1996) 518 U.S. 137, 139, 135 L.Ed.2d
     6
         443,447; Lakewood v. Plain Dealer Pub. Co. (1988) 486 U.S. 750, 772, 100
     7
         L.Ed.2d 771, 792. Under California law, "the general presumption of
     8

         constitutionality, fortified by the express statement of a severability clause,
     9

    10
         normally calls for sustaining any valid portion of statute unconstitutional in part."
    11   In re Blaney (1947) 30 Cal. 2d 643,655, 184 P.2d 892, 900. Broadly worded
    12   severability clauses call for a presumption in favor of severance. Sam Francis
    13   Found. v. Christies, Inc. (9th Cir. 2015) 784 F.3d 1320, 1325,2015 U.S. App.
    14   LEXIS 7411, *12. Furthermore, in order for an invalid portion ofa statute to be
    15   severed, it must be volitionally, grammatically, and functionally severable. Acosta
    16   v. City ofCosta Mesa (9th Cir. 2013) 718 F. 3d 800, 817.
    17         A.     Volitionally Severable.
    18         Text is volitionally severable where "it can be said with confidence that the
   19    [enacting body]'s attention was sufficiently focused upon the parts to be
   20
         [validated] so that it would have separately considered and adopted them in the
   21
         absence of the invalid portions." Acosta, supra, 718 F.3d. at 817-818. Here, in
   22
         enacting section 161.603, it is clear that the City's attention was sufficiently
   23
         focused on the purpose of protecting the health, safety, and welfare of the people
   24
         of Los Angeles, and not on simply entering dwellings without prior notice.
   25
               B.     Grammatically Severable.
   26

   27
               Text is grammatically severable where it constitutes a separate section of
   28    the measure and can be removed without affecting the other measure's provisions.
                                                   13
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     1   See Trailmobile Co. v. Whirls (1947) 331U.S. 40, 53, 67 S. Ct. 982, 988, 91 L.Ed.
     2   1328, 1337; Id. at 819; Cal. Tow Truck 797 F.3d at 755. "To be grammatically
     3
         separable, the valid and invalid parts of the statute can be separated by paragraph,
     4
         sentence, clause, phrase, or even single words." Vivid Entm 't, LLC v. Fielding,
     5
         774 F.3d 566,574,2014 U.S. App. LEXIS 23560, *11 (9th Cir. 2014). Here,
     6
         removing the phrase "without prior notice to the landlord or tenants" does not
     7
         affect the other measure's provisions or alter the meaning of the remaining text in
     8

         anyway.
     9

    10
               C.     Functionally Severable.

    11
               "Text is functionally severable where it is not necessary to the ordinance's

    12   operation and purpose." Acosta, supra, 718 F.3d. at 820. Here, the main purpose

    13   of SCEP is to promote the existence of sound and wholesome residential buildings
    14   and dwelling units and remedy the existence or prevent the development or
    15   creation of dangerous, substandard, or unsanitary and deficient residential
    16   buildings and dwelling units, for the health, safety and welfare of the people of
    17   Los Angeles. As such, severing the "without prior notice" language from section
    18
         161.603 is not necessary to the ordinance's purpose. Thus, the language at issue is
    19
         severable, and the remaining portions of the ordinance should be upheld as
    20
         constitutional. For those reasons, the severability clause prevents Plaintiffs
    21
         putatively "facial" challenge from reaching the fees.
    22
         3.    Amendment To The Complaint Inspection Ordinance Moots This
    23
               Lawsuit.
    24
               "A claim is moot when the issues presented are no longer live or the parties
    25
         lack a legally cognizable interest in the outcome." People ofGambell v.
    26
    27   Babbitt (9th Cir. 1993) 999 F.2d 403,406, 1993 U.S. App. LEXIS 17477, *4, 93
    28   Cal. Daily Op. Service 5374, 93 Daily Journal DAR 9119, 127 Oil & Gas Rep. 1.
                                                  14
                                 CITY'S SUPPLEMENTAL BRIEF
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     1   "A statutory change [...] is usually enough to render a case moot, even if the
     2   legislature possesses the power to reenact the statute after the lawsuit is
     3
         dismissed." Outdoor Media Group, Inc. v. City ofBeaumont (9th Cir. 2007) 506
     4
         F.3d 895, 901, 2007 U.S. App. LEXIS 25508, *7. Where there is no longer any
     5
         risk that a plaintiff will be subject to the challenged ordinance and there is no
     6
         reasonable expectation that the city will reenact the challenged legislation, the
     7
         amendment ends the ongoing controversy and no issue exists upon which a court
     8
         could issue prospective relief. See Citizens for Free Speech, LLC v. Cnty. of
     9

    10   Alameda (N.D. Cal. 2016) 194 F. Supp. 3d 968, 975; Outdoor Media, supra, 506
    11   F.3d at 901; Covenant Media ofCal., L.L.c. v. City ofHuntington Park (C.D. Cal.
    12   2005) 377 F. Supp. 2d 828,840,2005 U.S. Dist. LEXIS 14718, *29.
    13         Here, the proposed amendment to the Complaint Inspection Ordinance
    14   completely resolves Plaintiffs' concerns regarding coerced inspection and any
    15   potential of SCEP's facial invalidity, and cures the constitutional challenges at
    16   issue. The City has no intention to reenact the soon-to-be repealed aspects of the
    17   Complaint Inspection Ordinance. In short, Plaintiffs can soon no longer be subject
    18   to the challenged Ordinance, thus rendering all remaining post-FRCP 12(b)(6)
    19   claims moot and warranting dismissal.
    20
         Dated: May 30,2017        MICHAEL N. FEUER, City Attorney
    21                             CRAIG TAKENANAK, Man. Asst. City Attorney
    22
                                   DEBORAH BREITHAUPT, Deputy City Attorney

    23                              By:         ----'--/=s/ _
    24                                        DEBORAH BREITHAUPT
    25
                                   Attorneys for Defendant City of Los Angeles et. al.
    26

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                                 CITY'S SUPPLEMENTAL BRIEF
